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                                    John Morgan
                   Case 1:10-cv-00210-PLF        Individually
                                           Document            and in his
                                                    14 Filed 07/07/10 PageOfficial
                                                                           20 of 30Capacity with
                                    Horry County
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 01:10-CV-OQ210

                                                    PROOF OF SERVICE
                     (This sectam should not befiled with the court unless required by Fed. R. Civ. P.

           This Summons for (name of individual and titla-                              . <\                          gVXfc9-/
 was received by me on (date)

                 personally served the sum mons on the individual at (place)           TfaQ t f / U J>/; Sdlf? 7               (_


           CJ I left the summons at the individual's residence or usual place of abode with (mane)
                                                                . a person of suitable age and discretion who resides there.
           on (date)                               , and mailed a copy to the individual's last known address; or

           iSf I served the summons on (name of individual)                 **-- iC^N^o                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   O11 i date/


           !~l I returned the summons unexecuted because                                                                            ; or

           C3 Other (specify):




            My fees are $                           for travel and $                 for services, for a total of $       0.00


            I declare under penalty of perjury that this information is true.


 Date:
                                                                                           ^CTTCT-'S signature


                                                                                         Printed name and Me




                                                                                     .w> ej. /%//P fiuf.l
                                                                                            Server's address                   '

  Additional information regarding attempted service, etc:
                      Case 1:10-cv-00210-PLF Document 14
                                                      ForFiled
                                                          Horry07/07/10 Page
                                                                  County,    21 ofCarolina
                                                                          South    30

AO 440 (Rev. 12,09) Summons in a Civil Action (Page 2)

Civil Aclion No. 01:10-L;V-00210

                                                           PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fad. R. Civ. P. 4 (!))

           This Summons for (name of individual and tilte, if any)
                                                                                                                                           Ov^I
 was received by me on (day                  ^jflLjjy Q QJ£) j A                                    \                                               *
                                             "S
           V I personally served the summons on the individual at (place) (A                                  P_ojU.                  ^V\~ L_O


               I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there.
           on (date)                                . and mailed a copy to the individual's last known address: or

           i~J I served the summons on (name of individual)                                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                                   on <datet                                 ; or

            ~I I returned the summons unexecuted because                                                                                                       ; or

            L~I Other (specify):




            My fees are $                           for travel and $                                for services, for a total of $                      o.OO


            1 declare under pena/ly of perjury that this information is true.


  Date:
                                                                                                                      ^
                                                                                                              .? e rwr*wA4H/'



                                                                                                           Printed name and title




                                                                                                                  r
                 t" ~-j      ^_J                                       =   •   "•   5«   ™—**—'•        1—fV/tl       I J   'r   ——'—" J
                                                                                                                  Server's address

  Additional information regarding attempted service, etc:
                   Case 1:10-cv-00210-PLF
                   John                   Document
                         Weaver Individually and in14hisFiled 07/07/10
                                                          official     Page 22
                                                                   capacity forofHorry
                                                                                  30   County.
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 01:1G-CV-OG2iG

                                                   PROOF OF SERVICE
                     (This section should not beJUed with the court unless required by Fed. K Civ. P. 4 (I)}

           This Summons for (name of individual and title, if any)
 was received by me on (date)


           Sr I personally served the summons on the individual at (place) fj>(3} <?               C\i^ . C QAJLLfcl/' V ^f              (2/£
               jaw COcaKi.......                                                   onf*^, 7-£•-J<5ji? ,^
               I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

               I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                             ; or

               I returned the summons unexecuted because                                                                               ;or

               Other




            My fees are $                           for travel and $                 for services, for a total of $             o.OO


            I declare under penalty of perjury that this information is true.


                        w
 Date:       f - ^



                                                                                        Printed name and title




                                                                                                                                  '    ~)tf £~nQ

 Additional information regarding attempted service, etc:


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                     j
                                                                                      91 Hiw^ 2-inroi
     Case 1:10-cv-00210-PLF Document 14 Filed 07/07/10 Page 23 of 30



               IN THE UNITED STATES DISTRICT COURT
                               FOR

__________________________________
                                                 )
       Rodney Lail, et al. .                     )
.                                                )
                                                 ) Case No.01:10-cv-00210-PLF
                    Plaintiffs,                  )
                                                 )
             v.                                  )
                                                 )
     The United States Government,               )
     et al.                                      )
                 Defendants.                     )
_________________________________                )


                  AFFIDAVIT OF RODNEY KEITH LAIL

       PERSONALLY APPEARED before me the undersigned Rodney
Keith Lail who after being duly sworn states the following:
    1. On July 1, 20010, I delivered and had boxed and shipped by FED-EX
      overnight to be delivered by noon July 2, 2010, summons for entities
      and individuals as applicable both individually and in their official
      capacity: and complaints for the following defendants:
          a. Federal Bureau of Investigation
          b. Thomas Isabella, Jr., Individually
          c. Thomas Isabella, Jr. as an employee with the FBI
          d. Monte Dell McKee, Individually
          e. Monte Dell McKee, as an employee of the FBI
          f. Michael Kirkpatrick, Individually
          g. Michael Kirkpatrick, as an employee of the FBI



                                   Page 1 of 3
    Case 1:10-cv-00210-PLF Document 14 Filed 07/07/10 Page 24 of 30



         h. Kerry Haynes, Individually
         i. Kerry Haynes, as an employee of the FBI
         j. George Skaluba, Individually,
         k. George Skaluba, as an employee of the FBI
         l. David M. Hardy, Individually
         m. David M. Hardy, as an employee of the FBI
         n. Paul Gardner, Individually
         o. Paul Gardner, as an employee of the FBI
         p. Noel Herold, Individually
         q. Noel Herold, as a employee/contractor with the FBI
         r. United States Government
These documents were sent to the United States Attorney for the District of
Columbia and were received by W. Haight on July 2, 2010. (See attached
executed receipt Document A)
  2. It was requested that the US Attorney either accept service for these
     defendants individually or provide the address and return the
     applicable summons so that a summons and complaint could be sent to
     each defendant applicable in their individual capacity. (See Attached
     Documents A & B)
  3. I also individually provided a summons and complaint that was
     packaged and sent by Federal Express to the United States Attorney
     General Eric Holder on July 1, 2010, that was received by S. Robinson
     on July 2, 2010. (See Attached Document C)
  4. I also individually provided a summons and complaint that was
     packaged and sent by Federal Express to Noel Herold Individually on
     July 1, 2010, that was not accepted by Mr. Herold. (See Attached
     Document D)

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                                                          EXHIBIT "A"
                                                          Exhibit
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Case 1:10-cv-00210-PLF Document 14 Filed 07/07/10 Page 28 of 30




                                                          EXHIBIT "C"
                                                        EXHIBIT "D"
Case 1:10-cv-00210-PLF Document 14 Filed 07/07/10 Page 29 of 301 of 2
                                                        Page
                                                                                                                                                        http://www.fedex.com/Tracking
                                                                                  Exhibit
                              Case 1:10-cv-00210-PLF Document 14 Filed 07/07/10 Page        "D"
                                                                                     30 of 30
                                                                                  Page 2 of 2
                                                                                                             Printer-Friendly                   Get Link              Help
         Detailed Results
                                                                                                                                                                           Track

         Detailed Results                    Notifications



             Tracking no.: 872619679201                                                  Select time format: 12H | 24H                              E-mail notifications



              In transit
                                                     Initiated      Picked up        In transit     Delivered
                                                                 At FedEx destination facility
                                                                       HERNDON, VA

              Shipment Dates                                                                  Destination
              Ship date      Jul 1, 2010
              Estimated delivery      Jul 6, 2010 by 10:30 AM


             Shipment Facts                                                                                                                                            Help

              Service type                  Priority Pak - Direct Signature
                                            Required
              Weight                        2.0 lbs/.9 kg



             Shipment Travel History                                                                                                                                   Help

            Select time zone:

            All shipment travel activity is displayed in local time for the location
            Date/Time                          Activity                              Location                                         Details
             Jul 2, 2010 10:06 PM                  At local FedEx facility                    HERNDON, VA
             Jul 2, 2010 3:43 PM                   At local FedEx facility                    HERNDON, VA
             Jul 2, 2010 9:28 AM                   Delivery exception                         HERNDON, VA                             Customer not available or business
                                                                                                                                      closed - Signature required
             Jul 2, 2010 7:36 AM                   On FedEx vehicle for delivery              HERNDON, VA
             Jul 2, 2010 7:12 AM                   At local FedEx facility                    HERNDON, VA
             Jul 2, 2010 5:35 AM                   At dest sort facility                      DULLES, VA
             Jul 2, 2010 2:54 AM                   Departed FedEx location                    MEMPHIS, TN
             Jul 1, 2010 11:38 PM                  Arrived at FedEx location                  MEMPHIS, TN
             Jul 1, 2010 9:15 PM                   Left FedEx origin facility                 WEST COLUMBIA, SC
             Jul 1, 2010 7:23 PM                   Picked up                                  COLUMBIA, SC                            Tendered at FedEx Kinko's, now
                                                                                                                                      FedEx Office




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